
236 Md. 643 (1964)
204 A.2d 564
JEWELL
v.
DIRECTOR OF PATUXENT INSTITUTION
[App. No. 62, September Term, 1964.]
Court of Appeals of Maryland.
Decided November 16, 1964.
*644 Before HENDERSON, C.J., and HAMMOND, HORNEY, SYBERT and OPPENHEIMER, JJ.
PER CURIAM:
This is the third time that the applicant has been found to be a defective delinquent, but the first time he has applied for leave to appeal. The record contains evidence to support the determination of defective delinquency. It is well settled that the testimony of Dr. Boslow is admissible, although based in part upon the medical findings of others. Dickerson v. Director, 235 Md. 668.
Application denied.
